 Case: 4:17-cv-02043-AGF Doc. #: 92 Filed: 01/18/19 Page: 1 of 2 PageID #: 1059




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

AHMAD HERSH, MUNA OMER,                              )
Individually and as surviving parents and            )
Next heir of I.E. HERSH, deceased,                   )
                                                     )
                       Plaintiffs,                   )
                                                     )
v.                                                   )       Case No.: 4:17-CV-2043 RLW
                                                     )
CKE RESTAURANT HOLDINGS, INC.,                       )
HARDEE’S FOOD SYSTEMS, LLC, and                      )
HARDEE’S RESTAURANTS, LLC,                           )
                                                     )
                       Defendants.                   )


                      DEFENDANTS’ MOTION TO DISMISS
               UNDER THE DOCTRINE OF FORUM NON CONVENIENS

       Defendants CKE Restaurant Holdings, Inc., Hardee’s Food Systems, LLC, and Hardee’s

Restaurants, LLC (“Defendants” or “Named Defendants” ) move to dismiss this case under the

doctrine of forum non conveniens. The Hashemite Kingdom of Jordan is the proper forum for this

lawsuit because the fatal injury occurred in Amman, Jordan, the Plaintiffs are Jordanian citizens,

Jordanian authorities investigated the accident and brought criminal charges in Jordan, and the

relevant documents, witnesses, and photographs are all located in Jordan. Jordan is an adequate,

alternative forum and both the public and private interest factors support dismissal.           The

Defendants are willing to accept service, submit to jurisdiction in Jordan, and waive any statute of

limitations defenses if the case proceeds in Jordan. See Affidavit of Michael Woida in Support of

Defendants’ Motion to Dismiss Under the Doctrine of Forum Non Conveniens at ¶14. The

Defendants have filed the accompanying memorandum of law in further support of their Motion

to Dismiss Under the Doctrine of Forum Non Conveniens.
 Case: 4:17-cv-02043-AGF Doc. #: 92 Filed: 01/18/19 Page: 2 of 2 PageID #: 1060




       WHEREFORE, Defendants CKE Restaurant Holdings, Inc., Hardee’s Food Systems, LLC,

and Hardee’s Restaurants, LLC, respectfully request that this Court grant the Motion to Dismiss

Under the Doctrine of Forum Non Conveniens and issue an Order dismissing this action without

prejudice to refiling in a Jordanian forum.



                                                      Respectfully submitted,

                                                      HEPLERBROOM LLC

                                                      By: /s/ Glenn E. Davis
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                                                      Attorneys for Defendants, CKE Restaurants
                                                      Holdings, Inc., Hardee’s Food Systems, LLC
                                                      and Hardee’s Restaurants, LLC


                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 18, 2019, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification of such filing to all attorneys
of record.

                                               /s/ Glenn E. Davis




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